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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                             CASE NO. 20-80614-CIV-ALTMAN

 LARRY KLAYMAN,

        Plaintiff,
 v.

 INFOWARS, LLC, et al.,

       Defendants.
 _________________________________________/

                                   ORDER OF DISMISSAL

        THIS MATTER is before the Court on the Plaintiff’s Notice of Voluntary Dismissal [ECF

 No. 4]. Being fully advised, the Court hereby

        ORDERS that this action is DISMISSED without prejudice. The Clerk of Court is

 directed to CLOSE this case. All pending motions are DENIED as moot. All pending hearings

 and deadlines are TERMINATED.

        DONE AND ORDERED in Fort Lauderdale, Florida, this 14th day of April 2020.




                                                  _________________________________
                                                  ROY K. ALTMAN
                                                  UNITED STATES DISTRICT JUDGE
 cc:    counsel of record
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